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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                  CRIMINAL MINUTES



Date: December 1, 2022 (Time: 4 hours, 36 mins) JUDGE: Yvonne Gonzalez Rogers

Case No: CR-21-00429-YGR
Case Name: UNITED STATES v. RAY J. GARCIA


Attorney for Plaintiff: Andrew Paulson; Molly Priedeman
Attorney for Defendant: James Reilly


Deputy Clerk: Kelly Collins             Court Reporter: Pamela Batalo Hebel



                                       PROCEEDINGS

      Jury Trial, Day 4 - HELD.

            (See Attached Trial Log)




CASE CONTINUED TO: December 2, 2022, at 8:00 a.m. for Further Jury Trial.
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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA

Case No: 21-cr-00429-YGR-1
Case Name: USAv. Garcia

                          TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                           PLAINTIFF ATTORNEY:                     DEFENSE ATTORNEY:
 Yvonne Gonzalez Rogers           Andrew Paulson; Molly Priedeman         James Reilly
 TRIAL DATE:                      REPORTER(S):                            CLERK:
 December 1, 2022                 Pamela Batalo Hebel                     Kelly Collins

 PLF   DEF DATE/TIME
 NO.   NO. OFFERED           ID      REC     DESCRIPTION                                            BY
                                             Thursday, December 1, 2022
             8:00 a.m.                       Court is in session.
             8:01 a.m.                       Witness is sworn under seal.
             8:02 a.m.                       Discussion with counsel outside the presence of the
                                             jury.
             8:05 a.m.                       Court is in recess.
             8:30 a.m.                       Court is in session.
             8:32 a.m.                       Jury is present.
             8:35 a.m.                       Government calls its eleventh witness Katrina.
             8:36 a.m.                       Court instructs jury regarding testimony of Katrina.
             8:39 a.m.                       Direct examination of witness Katrina by Andrew
                                             Paulson.
 212         12/1/2022       X       X       Inmate Photo – K.D.
             9:07 a.m.                       Cross examination of witness Katrina by James
                                             Reilly.
             10:07 a.m.                      Witness is excused.
             10:08 a.m.                      Jury is in recess.
             10:08 a.m.                      Court is in recess.
             10:27 a.m.                      Court is in session.
             10:30 a.m.                      Jury is present.
             10:32 a.m.                      Government calls its twelfth witness FBI Special
                                             Agent (SA) Katherine Barclay.
             10:32 a.m.                      Witness is sworn and testified on direct examination
                                             by Molly Priedeman.
 165         12/1/2022       X       X       Interview of R. Garcia
             10:41 a.m.                      Court instructs the jury regarding exhibit #165.
 116         12/1/2022       X       X       Google Account Subscriber Information
 120         12/1/2022       X       X       Subscriber Information - TracFone


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                             Case No: 21-cr-00429-YGR-1
                                Case Name: USA v. Garcia

                       EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED       ID     REC    DESCRIPTION                                             BY
121       12/1/2022     X      X      Call Detail Records - TracFone
15        12/1/2022     X      X      Photo of Bathroom in Warden Complex
          11:25 a.m.                  Cross examination of witness SA Barclay by James
                                      Reilly.
          11:52 a.m.                  Jury is in recess.
          11:52 a.m.                  Court discusses housekeeping matter with counsel.
          11:53 a.m.                  Court is in recess.
          12:12 p.m.                  Court is in session.
          12:13 p.m.                  Jury is present.
          12:13 p.m.                  Cross examination of witness SA Barclay continues.
          12:54 p.m.                  Redirect examination of witness SA Barclay by
                                      Molly Priedeman.
          12:56 p.m.                  Witness is excused.
          12:56 p.m.                  Government rests.
          12:57 p.m.                  Defense calls its first witness Ray Garcia.
          12:58 p.m.                  Witness is sworn and testified under direct
                                      examination by James Reilly.
          1:38 p.m.                   Jury is admonished and released for the day.
          1:39 p.m.                   Court is adjourned until Friday, December 2, 2022, at
                                      8:00 a.m.




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